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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                            Case No. 22-cr-76 (KMM/TNL)

                      Plaintiff,

 v.                                                               ORDER

 Shevirio Kavirion Childs-Young (1), and
 William Charles Saffold (2),

                      Defendants.


       This matter comes before the Court on the Government’s Motion to Designate Case

as Complex Under the Speedy Trial Act and to continue all deadlines by at least 45 days.

(Mot., ECF No. 31.)

                         I. COMPLEX-CASE DESIGNATION

       This case involves multiple counts stemming from a series of armed carjackings and

robberies. (Mot. ¶ 1.) In support of its motion to designate this case as complex, the

Government states that the indictment involves seven separate incidents, as well as multiple

investigative events and dozens of uncharged but related incidents. (Mot. ¶ 2.) The

Government contends that the case and discovery process is particularly complex given the

“size, complexity, and scope of the investigative materials relative to the overall

investigation.” (Mot. ¶ 4.) “Discovery is very large and complicated,” and “includes

thousands of written reports, as well as voluminous videos, photographs, and content

obtained through search warrants.” (Mot. ¶ 2.) Further, given evidence obtained recently,

the Government asserts that the existing indictment may be superseded. (Mot. ¶ 7.)
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       In sum, the Government asserts that this case is “unusual and complex in that the

indicted conduct involves a large-scale conspiracy with multiple separate incidents,” and

because “[t]he evidence includes thousands of pages of written and documentary materials,

as well as voluminous videos, photographs, and content obtained through search warrants.”

(Mot. ¶ 6.) The Government has conferred with counsel for Defendants, and they do not

oppose the motion. (Mot. ¶ 8.)

       The Court finds that, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), due to the large

amount of discovery and the number of alleged criminal incidents, this case is so complex

that it is unreasonable to expect adequate preparation for pretrial proceedings or for the

trial itself within the time limits established by the Speedy Trial Act.

                           II. EXTENSION OF DEADLINES

       As stated above, the Government has also moved for a continuance of all deadlines

by at least 45 days given the complexity of the case. (Mot. at 4.) The Government contends

that it needs additional time to “provide fulsome and intelligent access to certain

[investigative] materials to the Defendants.” (Mot. ¶ 4.) The Government further states

that given the current scheduling order, Defendants would have a limited opportunity to

conduct a meaningful review of the discovery for the purposes of filing motions and

preparing for trial. (Id.) Defendants do not oppose the motion. (Mot. ¶ 8.) The Court

additionally finds, pursuant to 18 U.S.C. § 3161(h)(7)(A), that the ends of justice served

by granting such a continuance outweigh the best interests of the public and Defendants in

a speedy trial and such continuance is necessary to provide the Government, Defendants,



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and the parties’ respective attorneys reasonable time necessary for effective preparation

and to make efficient use of the parties’ resources.

       Additionally, beginning on March 13, 2020, and continuing thereafter, the

Honorable John R. Tunheim, Chief District Judge for the United States District Court for

the District of Minnesota, has issued a series of General Orders in connection with the

COVID-19 pandemic, addressing, among other things, criminal proceedings and trials. 1

On June 1, 2022, Chief Judge Tunheim entered General Order No. 36, which allows limited

in-person proceedings for defendants who decline to consent to conducting the proceeding

using videoconferencing, or telephone conferencing if videoconferencing is not reasonably

available. See generally In re: Updated Guidance to Court Operations Under the Exigent

Circumstances Created by COVID-19, Gen. Order No. 36 (D. Minn. June 1, 2022).

General Order No. 36 states that because only limited in-person proceedings may be held

each day, criminal proceedings may be continued until the date that the criminal proceeding

takes place.

       General Order No. 36 continues to encourage the use of videoconferencing in

criminal proceedings and states that, with the defendant’s consent, criminal proceedings

will be conducted by videoconferencing, or telephone conferencing if videoconferencing

is not reasonably available. General Order No. 36 further provides that the presiding judge

will enter orders in individual cases to extend deadlines and exclude time under the Speedy

Trial Act to address delays attributable to COVID-19. Accordingly, should Defendant


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   All General Orders related to the COVID-19 pandemic may be found on the Court’s website at
https://www.mnd.uscourts.gov/coronavirus-covid-19-guidance.

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file pretrial motions, counsel shall also file a letter indicating whether Defendant

consents to a motions hearing by videoconference. (See also ECF No. 30.)

                                      III. ORDER

        Based on all the files, records, and proceedings herein, IT IS HEREBY

ORDERED that:

       1.     The Government’s Motion to Designate Case as Complex Under the Speedy

Trial Act (ECF No. 31) is GRANTED.

       2.     This case is designated as “complex” within the meaning of 18 U.S.C.

§ 3161(h)(7)(B)(ii).

       3.     The period of time from June 21, 2022, through September 14, 2022, shall

be excluded from Speedy Trial Act computations in this case. See United States v. Mallett,

751 F.3d 907, 911 (8th Cir. 2014) (“Exclusions of time attributable to one defendant apply

to all codefendants.” (quotation omitted)); United States v. Arrellano-Garcia, 471 F.3d

897, 900 (8th Cir. 2006) (same).

       4.     The Government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by August 8, 2022. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the Government is requested to make, by

August 8, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and 12(h).

       5.     Defendant must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by August 15, 2022. D. Minn. LR 12.1(a)(2).

       6.     All motions in the above-entitled case shall be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before August 22, 2022. D.

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Minn. LR 12.1(c)(1). Two courtesy copies of all motions and responses shall be delivered

directly to the chambers of Magistrate Judge Leung.

       7.     Should a defendant file pretrial motions, counsel shall also file a letter

on or before August 22, 2022, indicating whether that defendant consents to a motions

hearing by videoconference. See, e.g., ECF No. 30.

       8.     Counsel shall electronically file a letter on or before August 22, 2022, if no

motions will be filed and there is no need for hearing.

       9.     All responses to motions shall be filed by September 6, 2022. D. Minn. LR

12.1(c)(2).

       10.    Any Notice of Intent to Call Witnesses shall be filed by September 6, 2022.

D. Minn. LR. 12.1(c)(3)(A).

       11.    Any Responsive Notice of Intent to Call Witnesses shall be filed by

September 9, 2022. D. Minn. LR 12.1(c)(3)(B).

       12.    A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

              a.     The government makes timely disclosures and a defendant pleads
                     particularized matters for which an evidentiary hearing is necessary;
                     or

              b.     Oral argument is requested by either party in its motion, objection or
                     response pleadings.

       13.    If required, the motions hearing shall take place before the undersigned

on September 14, 2022, at 1:30 p.m., in Courtroom 9W, Diana E. Murphy U.S.




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Courthouse, 300 South Fourth Street, MINNEAPOLIS, Minnesota. D. Minn. LR

12.1(d).

       14.     TRIAL:    The trial date, and other related dates, are TO BE

DETERMINED before District Judge Katherine M. Menendez in Courtroom 3A,

Warren E. Burger Federal Building and U.S. Courthouse, 316 North Robert Street,

SAINT PAUL, Minnesota. Counsel must contact the Courtroom Deputy for Judge

Menendez to confirm the new trial date.



Dated: June    23    , 2022                          s/Tony N. Leung
                                              Tony N. Leung
                                              United States Magistrate Judge
                                              District of Minnesota


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